         Case 1:18-cr-00609-RJD Document 120 Filed 06/28/19 Page 1 of 1 PageID #: 307

CJA 30DEATH PENALTY PROCEEDINGS: APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL(Rev. 02/12)
1. CIR./DIST./DIV. CODE                 2. PERSON REPRESENTED                                                                           VOUCHER NUMBER
                                         ALFRED LOPEZ
3. MAG. DKT./DEF. NUMBER                            4. DIST. DKTVDEF. NUMBER                                 5. APPEALS DKT./DEF. NUMBER                      6. OTHER DKT. NUMBER
                                                      CR 18-609-7(RJD)
7. IN CASE/MATTER OF(Care Afame)                                 8. TYPE PERSON REPRESENTED                                    9. REPRESENTATION TYPE
                                                                 1^ Adult Defendant G Appellee                                 n Dt 28 u s e.S 2254 Habeas fCaoitall H D4 Other (Soecifv)
 U.S.A. -V- SHELTON                                              G Habeas Petitioner G Oiltxx (Specify)                        S3 D2 Federal Capital Prosecution             G U? State Clemency
                                                                 G Appellant                                                   G D3 28 U.S.C.§ 2255(Capital)                 G 08 Federal Clemency
10. OFFENSE(S)CHARGED (Cite U.S. Code,Title & Section) Ifmore than one offense, list(up toJive) major offenses charged,according to severity ofoffense.
 18 U.S.C. 1958(a), 18 U.S.C. 9240)(1)
 I. ATTORNEY'S NAME (First Name. M.I., Last Name,                            12. COURT ORDER:
    including any suffix), AND MAILING ADDRESS                                  O O Appointing Counsel                            St C Co-Counsel
                                                                                O F Subs For Federal Defender                     □ R Subs For Retained Attorney
 BOBBI C. STERNHEIM,ESQ.                                                        O P Subs For Panel                                O Y Standby Counsel
 Bobbi Stemheim, Esq.                                                        Prior Attorney's Name;                                                        Appointment Date:
 33 West 19th Street 4th Floor                                               (A) Because the above-named person represented has testified under oath or has otherwise satisfied this Court that he or she (1) is
 New York, New York 10010                                                    financially unable to employ counsel and (2) does not vrish to waive counsel, and because the interests of justice so require, the
                                                                             attorney whose name appears in Item 11, ^o has been determined to possess the specific qualifications by law, is appointed to
                                                                             represent the person in this case.
                                    (212)243-1100                            (B) The attorney named in Item 11 is appointed to serve as:      CJ LEAD COUNSEL                   CO-COUNSEL
      Telephone Number:                                                      Name of Co-Counsel
13. NAME AND MAILING ADDRESS OF LAW FIRM                                     or Lead Counsel:           MSfk DsMSfCO                                       AppointmeatDate:              6/18/2019
      (Only provide per instructions)                                        (C) If you represented the defen             ationer in any prior woceeding related to this matter, attach to your initial claim
                                                                             a listing of those proceedtngdlmd desi       ;your role in each filg., lead in coimsel or co-counsel).
                                                                            □ (D)Duetotheexpy((raIengthofi                           Ihe antiw»ated hardship on counsel in undertaking representation full-
                                                                            time, for such a period^thout coi                        imp^Ments of compensation and expenses arc approved pursuant to

                                                                                                            s/ Raymond J Dearie
                                                                             the attached order.


                                                                                                      Signature of nesidin      dgdlor By       er of the Court

                                                                                                  6/28/2019                                          6/28/2019
                                                                                                  Date of Order                                   Nunc Pro Time Date

                                                                             (E) Rep^ment or partial repayment ordered Rom the person represented for this service at time of appointment
                                                                                                                        □ YES         □ NO


14. STAGE OF PROCEEDING Check the box which corresponds to the stage of die proceeding during which the work claimed at Item 15 was performed even if the work is intended to be
                        used in connection with a later stage of the proceeding. CHECK NO MORE THAN ONE BOX. Submit a separate voucher for each stage of the
                                     proceeding.
                    CAPITAL PROSECUTION                                                     HABEAS CORPUS                                                         OTHER PROCEEDING
         □    Pre-Trial           e O Appeal                             □ Habeas Petition               k. 0 Petition for the              I. □ Stay of Execution                  o. □ Ofher (Specifit)
         □    Trial               f □ Petition for the                   □ State Court Appearance                 U.S. Supreme Court        m G Appeal of Denial of Stay
         □    Sentencing              U.S. Supreme Court                 O Evidentiary Hearing                    Writ of Certiorari        n. G Petition for Writ of               P G Clemency
         □    Other Post Trial           Writ of Certiorari              □ Dispositive Motions                                                      Certiorari to the U.S.
                                                                         G Appeal                                                                   Supreme Court Regarding
                                                                                                                                                    Denial of Stay



                                                                                                                   TOTAL                   MATH/TECH.              MATH/TEC3J.
                                                                                          HOURS                                                                                            ADDITIONAL
15.     CATEGORIES (Attach itemization ofservices with dates)                                                     AMOUNT                    ADJUSTED                ADJUSTED
                                                                                         CLAIMED                                                                                             REVIEW
                                                                                                                  CLAIMED                    HOURS                   AMOUNT

                                                                                                                             0.00                                   IN COURT                 IN COURT
        a. In-Court Hearings (RATE PER HOUR » $                                 )
                                                                                                                                                                     TOTAL                    TOTAL
        b. Interviews and Conferences with Client
                                                                                                                                                                    Category a               Category a
        c. Wimess Interviews
        d. Consultation with Investieators & Exocrts                                                                                                                            0.00

        e. Obtaining & Reviewing the Court Record
                                                                                                                                                                  OUT OF COURT            OUT OF COURT
        f. Obtaining & Reviewing Doctunents and Evidence
                                                                                                                                                                      TOTAL                  TOTAL
        g. Ckinsulting with ExDcrt Counsel
                                                                                                                                                                   Categories b-j           Categories b-J
        h. Legal Research and Writing
        i. Travel                                                                                                                                                               0.00


 TOTALS: Categories b thru i (RATE PER HOUR =                                   )                    0.00                     0.00                    0.00


16.     Travel Expenses (lodsiing. parkinn. meals, milease, etc)
17.
                                                                                                                              0.00                                              0.00

18. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                                 19. APPOINTMENT TERMINATION DATE                                20. CASEDISPOSITIOJJ
                                                                                                                  IF OTHER THAN CASE COMPLETION
      FROM:                                              TO:

21. CLAIM STATUS                    G Final Payment                 G Interim Payment Number                                                  G Supplemental Payment
      Have you previously applied to the court for compensation and/or reimbursement for this case?         G YES        G NO              Ifyes, were you paid?      G YES          G NO
      Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or anything ofvalue) from any other source in connection with this
      representation?   G YES        G NO            If yes, give details on additional sheets.
      Iswear or aflirm the truth or correctness of the above statements.

      Signature of Attomey
